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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

TRITA PARSI
and
NATIONAL IRANIAN AMERICAN COUNCIL
Plaintiffs,
v. Civil No. 08 CV 00705
SEID HASSAN DAIOLESLAM,

Defendant.

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ORDER EXTENDING PLAINTIFFS' TIME TO RESPOND TO DEFENDANT'S
MOTION FOR AN ORDER REQUIRING PLAINTIFFS TO POST A BOND

Upon consideration of the Plaintiffs' Consent Motion to Extend Time to Respond to the
Defendant's Motion for an Order Requiring Plaintiffs to Post a Bond and Not Waste Assets, and
the record herein, itis this___—s day of , 2012, hereby ORDERED:

That the Plaintiffs’ Consent Motion is GRANTED.

That the Plaintiffs shall file a response to the Defendant's Motion for an Order Requiring
Plaintiffs to Post a Bond and Not Waste Assets on or before March 5, 2012.

It is so ORDERED.

 

JUDGE, United States District Court
for the District of Columbia
